      Case 3:14-cr-01108-WQH        Document 55     Filed 08/26/14   PageID.125    Page 1 of 1



                                                                                              • I
1

 2
 3                                                                                  r.!.   t; \ .~: T ( . ! ' U~ T
                                                                                              " .'~ L 'f ,.r.t{ f.

 4
                                                                                                       OPUT Y
 5

 6                                 UNITED STATES DISTRICT COURT

 7                             SOUTHERN DISTRICT OF CALIFORNIA

 8   UNITED STATES OF AMERICA,                    Crim. No. l4CRl108-WQH

 9                      Plaintiff,                JUDGMENT AND ORDER GRANTING
                                                  MOTION TO DISMISS THE INFORMATION
10                                                AS TO DEFENDANT ROBLEDO WITH
                                                  PREJUDICE
11   v.

12   LUCY ROBLEDO     (2) ,

13                      Defendant.

14

15                                             ORDER

16         Pursuant    to     the Government's Motion,          IT IS HEREBY ORDERED that

17   the   Information        be   dismissed   as       to   Defendant   Lucy     Robledo             with

18   prejudice.

19

20         SO ORDERED.

21
           DATED:

              ~J?~
22
23

24
                                                    THE HONORABLE
25                                                  United States District Judge

26

27

28
                                                    1
